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                     UNITED STATES BANKRUPTCY COURT
                      NORTHERN DISTRICT OF GEORGIA
                            ATLANTA DIVISION

                     TRUSTEE'S SUPPLEMENTAL REPORT

      FOLLOWING CONFIRMATION HEARING HELD ON OCTOBER 4, 2018



CASE NO.:     18-51776-PMB

DEBTORS:      KAWIKA T. WORRELL
              CAMILLE L. WORRELL

TRUSTEE TO REPORT BACK IN 10 DAYS

WHETHER DEBTORS HAVE PROVIDED PROOF OF INCOME AND

WHETHER DEBTORS HAVE RESOLVED TRUSTEE’S OBJECTION REGARDING THEIR
2017

TAX REFUND.

THE TRUSTEE HAS REVIEWED THE CASE AS INSTRUCTED AND

DEBTORS HAVE FAILED TO PROVIDE PROOF OF INCOME AND HAVE FAILED TO

RESOLVE TRUSTEE’S OBJECTION REGARDING THEIR 2017 TAX REFUND.

PLEASE ENTER AN ORDER OF DISMISSAL.


October 22, 2018



                                    _________/s/_______________________
                                    Jason L. Rogers, Attorney for the
                                    Chapter 13 Trustee
                                    GA Bar No. 142575




Melissa J. Davey, Chapter 13 Trustee
Suite 200 – 260 Peachtree Street, N.W.
Atlanta, Georgia 30303
(678) 510-1444
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                         CERTIFICATE OF SERVICE



      This is to certify that I have this day served


DEBTORS:

Kawika Trevice Worrell
Camille Lizette Worrell
2555 Flat Shoals Rd
#3005
Atlanta, GA 30349

ATTORNEY FOR DEBTORS:

Slipakoff & Slomka, PC
Overlook III - Suite 1700
2859 Paces Ferry Rd, SE
Atlanta, GA 30339

the above in the foregoing matter with a copy of this pleading by
depositing same in the United States Mail in a properly addressed
envelope with adequate postage thereon.

This __22nd_____ day of October, 2018.



________/s/__________________________
Jason L. Rogers, Attorney for the
Chapter 13 Trustee
GA Bar No. 142575




Melissa J. Davey, Chapter 13 Trustee
Suite 200 – 260 Peachtree Street, N.W.
Atlanta, Georgia 30303
(678) 510-1444
